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                                                                                     WILLIAM T. WALSH, Cleck
                              UNITED STATES JUDICIAL PANEL                           United States District Ceut
                                                                                     District of New Jersey
                                 MULTIDISTRICT LITIGATION
                                                                                By:   -   s/iacgu,eLambiase
                                                                                             Deputy Clerk

IN RE: PROTON-PUMP INHIBITOR PRODUCTS                                                        8/4/17
                                                                                Date
LIABILITY LITIGATION (NO. II)                                                               MDL No. 2789



                                        TRANSFER ORDER


         Before the Panel: Plaintiffs in 24 actions pending in the District of New Jersey move to
centralize this litigation in that district, or, in the alternative, the Southern District of Illinois. The
litigation consists of the 161 actions listed on the attached Schedule A. The Panel has been informed
of 34 additional federal actions involving related issues.1

         All responding plaintiffs support centralization, but certain plaintiffs argue, in the first
instance, for the Southern District of Illinois. Defendants’ positions on centralization vary.
Defendants AstraZeneca Pharmaceuticals LP and AstraZeneca LP (AstraZeneca) support
centralization in the District of New Jersey or the Central District of California. Defendants Pfizer
Inc., Wyeth Pharmaceuticals, Inc., Wyeth, LLC, and Wyeth-Ayerst Laboratories (collectively Pfizer)
support centralization in the District of New Jersey (or, in the alternative, the Eastern District of
Pennsylvania). Defendants Procter & Gamble Company and The Procter & Gamble Manufacturing
Company (P&G) do not oppose centralization in the District of New Jersey. Various Takeda
defendants (Takeda)2 oppose centralization, and do not suggest any transferee district, if
centralization is ordered over their objections. Novartis Consumer Health, Inc. (NCH), which is
sued only in a potential tag-along action (in which Takeda also is a defendant), also opposes
centralization, and, if centralization is ordered over its objections, advocates the District of New
Jersey or the Eastern District of Pennsylvania. Both Takeda and NCH further argue that if an MDL
is created, any cases or claims against them should be excluded. Finally, three other Novartis entities
—  Novartis Pharmaceuticals Corporation, Novartis Vaccines and Diagnostics, Inc. and Novartis
Institute for Biomedical Research, Inc. oppose centralization on the grounds that they are not
                                           —




        *   Judge Marjorie 0. Rendell took no part in the decision of this matter.

         These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
7.1, and 7.2.
       2
          Takeda Pharmaceutical Company Limited, Takeda Pharmaceuticals U.S.A., Inc., Takeda
Pharmaceuticals International, Inc., Takeda Development Center Americas, Inc., Takeda California,
Inc., Takeda Pharmaceuticals America, Inc., Takeda GmbH, Takeda Pharmaceuticals LLC, and TAP
Pharmaceutical Products, Inc.
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current or fonner manufacturers or developers of any of the pharmaceuticals at issue, and thus are
not proper parties.

                                                  I.

         In the complaints in these 161 personal injury and wrongful death actions, plaintiffs allege
that as a result of taking one or more proton-pump inhibitors (PPIs), they or their decedents suffered
kidney injury (e.g., chronic kidney disease (CKD),3 acute interstitial nephritis, end stage renal
disease, or kidney failure). Plaintiffs allege that defendants failed to adequately warn ofthe negative
effects and risks associated with PPIs.

        This litigation is before us for the second time this year. At our January hearing session, we
denied a motion for centralization brought by plaintiffs in six PPI actions. In re: Proton-Pump
Inhibitor Prods. Liab. Litig. (Proton-Pump 1),  —     F. Supp. 3d—, 2017 WL 475581 (J.P.M.L. Feb.
2, 2017). The motion encompassed fifteen constituent actions and 24 potential tag-along actions
pending in a total of seventeen districts. Id. at * 1. All defendants opposed centralization. Id.

         In Proton-Pump I, we recognized that the actions shared certain factual issues “arising from
plaintiffs’ allegations that taking [PPIs] may result in various types of kidney injury,” including the
conditions listed above. Id. But we concluded that centralization was not warranted for a number
ofreasons. First, the named defendants varied from action to action: AstraZeneca was sued in most
of the actions (14 constituent actions and 23 tag-alongs), but P&G was sued in only eight, Takeda
in four, and Pfizer in two. We thus reasoned that centralization “appear[ed] unlikely to serve the
convenience of most, if not all, defendants and their witnesses.” Id. Second, defendants were (and
still are) competitors, and centralizing them in a single MDL “likely would complicate case
management due to the need to protect trade secret and confidential information,” and might prolong
pretrial proceedings, because of, inter atia, the possible need for separate discovery and motion
tracks, as well as additional bellwether trials. Id. at *2. Third, we found that a significant amount
of discovery was “almost certain to be defendant-specific,” given that the drugs at issue were “not
identical,” with each having “a unique development, testing, and marketing history, and each [having
been] approved by the FDA at different times.” Id. We stated that the differences among the drugs,
as well as the variety of injuries alleged, “significantly undermine[d] any efficiency gains to be
achieved from centralization.” Id. Finally, we noted that although moving plaintiffs had “almost
guarantee{d]” that the number of actions would increase “by the hundreds if not thousands,” the
Section 1407 motion encompassed only 39 cases, including tag-alongs. Id.




         Plaintiffs in more than 120 of the constituent actions allege that they suffered CKD.
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                                                   II.

         In support of this new motion,4 plaintiffs, AstraZeneca, and Pfizer argue that the number of
involved actions, districts, and plaintiffs’ counsel has increased significantly since Proton-Pump I,
that many more cases likely will be filed, that there now are a significant number of related state
court actions,5 and that informal coordination and cooperation are not practicable to manage
litigation of this scope. After careful review of the record, we agree with this assessment.

         As stated above, these actions share factual issues arising from allegations that taking one
or more PPIs can result in kidney injury, and that defendants failed to adequately warn of the
negative effects and risks of PPI use. Although several of the grounds on which we denied
centralization in Proton-Pump I remain largely valid,6 we fmd that the significantly larger number
of involved actions, districts, and counsel, the concomitant increase in burden on party and judicial
resources, and the opportunity for federal-state coordination, coupled with most defendants’ change
in position to now support centralization, tip the balance in favor of creating an MDL.7
Centralization will facilitate a uniform and efficient pretrial approach to this litigation, eliminate
duplicative discovery, prevent inconsistent rulings on Daubert and other pretrial issues, and conserve
the resources of the parties, their counsel, and the judiciary. ‘While we do not discount the case
management-related difficulties that a multi-product and multi-defendant MDL such as this may
entail, the unusual circumstances presented convince us that at this juncture, formal centralization
under Section 1407 is the best course. As we repeatedly have stated, a transferee judge can employ
any number of techniques, such as establishing separate discovery and motion tracks, to manage
pretrial proceedings efficiently. See, e.g., In re: AndroGel Prods. Liab. Litig., 24 F. Supp. 3d 1378,



          We note that our denial of centralization in Proton-Pump I did not foreclose the filing of
this second motion for centralization. That earlier denial also does not preclude us from reaching
a different result here. We will do so only rarely, however, where a significant change in
circumstances has occurred. See In re: Plavix Mktg., Sates Practices & Prods. Liab. Litig. (No. II),
923 F. Supp. 2d 1376, 1378 (J.P.M.L 2013).

        AstraZeneca represents that it has been sued in 87 state court PPI actions —85 in Delaware,
one in Missouri, and one in Ohio.
        6
         Thevarietyofallegedkidneyinjuries arguablyhas diminished, as mostplaintiffs allegethat
they suffer from CKD. In addition, the status of defendants as competitors (and defendants’
concerns regarding trade secrets, etc.) may be less of an issue in this litigation, given that most (and
possibly all) of these medications no longer have patent protection.

           See In re: Lipitor (Atorvastatin Calcium) Mktg., Sales Practices & Prods. Liab. Litig. (No.
II), 997 F. Supp. 2d 1354, 1356 (J.P.M.L. 2014) (granting follow-up motion for centralization, where
number of related actions had grown from 29 in thirteen districts to over 225 in more than 40
districts; the number of involved plaintiffs’ firms had grown as well; and the Panel had been
informed of related cases pending in at least three state courts).
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1379-80 (J.P.M.L. 201 4)•8 As with any MDL, the transfereejudge has substantial discretion to refine
the litigation’s parameters. Id. at 1380 (“[T]he transferee judge retains wide discretion as to how
the MDL should be defined. .“). If, after close examination, she determines that Section 1407
                               .
                                   .


remand of any claims or actions involving a particular defendant or PPI is appropriate, procedures
are available to accomplish this with minimal delay. Id. (citing Panel Rule 10.1).

         In opposing centralization and arguing that if centralized, any cases and claims against it
should be excluded from the MDL, Takeda relies heavily on our decision in Proton-Pump I, and
further argues that it is sued in only a minority of the 161 actions. For the reasons stated above, we
conclude that Proton-Pump I does not control the outcome here. And, although it is true that
AstraZeneca is sued in far more actions than Takeda, a significant number ofactions are “mixed use”
cases in which the plaintiffs allege use of more than one PPI, and sue Takeda and one or more other
PPI manufacturers, including AstraZeneca.9 The prospect of additional cases against Takeda does
not seem far-fetched.’° Given these circumstances, including the seemingly indivisible nature of
plaintiffs’ alleged injuries in the “mixed use” cases, we decline to carve out from the MDL cases or
claims against Takeda.”


       8
                In Androgel, we ordered industry-wide centralization of all cases alleging injuries
arising from the use of testosterone replacement therapies on the grounds that a number of plaintiffs
had “used more than one testosterone replacement therapy,” and that “[t]he other approaches
proposed by the parties—centralizing only [cases involving AbbVie’s Androgel product] (and
perhaps transferring ‘combination cases’), separating and remanding claims against certain
manufacturers, or transferring only claims relating to testosterone replacement gels—could prove
too procedurally complicated, might result in a de facto industry-wide centralization as cases
involving multiple drugs become part of the MDL, or may require successive motions for
centralization.” In re: Androgel Prods. Liab. Litig., 24 F. Supp. 3d at 1379. These same
circumstances are present in the PPI cases now before us.

                For example, the Middle District of Florida Lear plaintiff alleges use, at various
times, of AstraZeneca’s Nexium and Prilosec PPIs, Takeda’s Prevacid PPI, and Pfizer’s Protonix
PPI; the District of Idaho Buzbee plaintiff alleges use ofNexium and Prevacid; the Western District
of Louisiana Crandell plaintiff alleges use of Nexium, Prevacid, and Prilosec; the District of New
Jersey Luzzo plaintiff alleges use ofNexium and Prevacid; and the Eastern District of Pennsylvania
Miller plaintiff alleges use of Nexium and Prevacid.
       10
               Sales of Prevacid, which came to market in 1995, reportedly exceeded $3 billion
annually at one time.

               Whether claims against NCH, which markets Prevacid 24HR, should be included in
the MDL is best addressed through our conditional transfer order process, as NCH is sued only in
an Eastern District of Tennessee tag-along action. Similarly, whether future claims against the three
other Novartis entities Novartis Pharmaceuticals Corporation, Novartis Vaccines and Diagnostics,
                      —




                                                                                      (continued...)
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         We select the District of New Jersey as transferee district for this litigation. More than 60
of the 161 constituent actions afready are pending in D. New Jersey (more than in any other district).
The district is a relatively convenient venue, and enjoys the support of most plaintiffs, as well as the
AstraZeneca, Pfizer, and P&G defendants. Further, centralization in the Disthct of New Jersey
enables us to assign the litigation to Judge Claire C. Cecchi, an experienced transferee judge who
already is actively managing the PPI cases filed in that district. We are confident that the judge will
steer this litigation on a prudent course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the District of New Jersey are transferred to the District of New Jersey, and, with the consent of that
court, assigned to the Honorable Claire C. Cecchi for coordinated or consolidated pretrial
proceedings.


                                        PANEL ON MULTDISTRICT LITIGATION




                                                           Sarah S. Vance
                                                                Chair

                                        Charles R. Breyer               Lewis A. Kaplan
                                        Ellen Segal Huvelle             R. David Proctor
                                        Catherine D. Perry




        ‘1(...continued)
Inc. and Novartis Institute for Biomedical Research, Inc. should be transferred to the MDL is not
                                                            —




properly before us, as those entities currently are not sued in any ofthe constituent or tag-along cases
(having been voluntarily dismissed from the one action in which they previously were named).
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IN RE: PROTON-PUMP INHIBITOR PRODUCTS
LIABILITY LITIGATION (NO. II)                                 MDL No. 2789


                                          SCHEDULE A

           District of Arizona

     DAVIS v. TAKEDA PHARMACEUTICALS USA INCORPORATED, ET AL.,
          C.A. No. 2:16-04485

           Eastern District of California

     THOMAS v. TAKEDA PHARMACEUTICALS USA, NC., ET AL.,
          C.A. No. 1:16-01566
     COSTAMAGNA, ET AL. v. THE PROCTER & GAMBLE COMPANY, ET AL.,
          C.A. No. 2:17-00409

           Middle District of Florida

     LEAR v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 3:17-00240

           District of Idaho

     BUZBEEv. ASTRAZENECA PHARMACEUTICALS LP, ETAL., C.A. No. 3:17-00174

           Central District of illinois

     MULLEN v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 1:17-01220

           Northern District of Illinois

     WEITERv. TAKEDA PHARMACEUTICALS USA, NC., ETAL., C.A. No. 1:16-11199
     PARKER v. TAKEDA PHARMACEUTICAL COMPANY LIMITED, ET AL.,
          C.A. No. 1:17-03764

           Southern District of Illinois

     COLEMAN, ET AL. v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
          C.A. No. 3:17-00130
     ROSENSTEEL, ET AL. v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
          C.A. No. 3:17-0013 1
     DRAVLAND, JR. v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
          C.A. No. 3:17-00133
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MDL No. 2789 Schedule A (Continued)


      RICHARDSON v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
           C.A. No. 3:17-00406
      MCGILL, El AL. v. ASTRAZENECA PHARMACEUTICALS LP, El AL.,
           C.A. No. 3:17-00461
      WINTERS, SR. v. ASTRAZENECA PHARMACEUTICALS, LP, ET AL.,
           C.A. No. 3:17-00535

            District of Kansas

      KOON v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:16-02605
      DONECKER v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
           C.A. No. 6:17-01082

            Eastern District of Kentucky

      CARPENTER v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
           C.A. No. 0:16-00159
      ROBERTS v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No.5:17-00117
      LOCKARD, ET AL. v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
           C.A. No. 6:17-00125
      THACKER, ET AL. v. THE PROCTER & GAMBLE COMPANY, El AL.,
           C.A. No. 7:17-00078

            Western District of Kentucky

      LOWE v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 5:17-00078

            Eastern District of Louisiana

      LABICHE, El AL. v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
            C.A. No. 2:16-15893
      JOHNSON, El AL. v. ASTRAZENECA PHARMACEUTICALS LP, El AL.,
            C.A. No. 2:16-16424
      TILLMAN v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C .A. No.2:16-17742
      BALES v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:16-17744
      SELF v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:16-17746
      LEBLANC v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No.2:16-17748
      EDWARDS v. ASTRAZENECAPHARMACEUTICALS LP, ETAL., C.A. No.2:16-17750
      DONALD v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:16-17753
      MCCOY v. ASTRAZENECA PHARMACEUTICALS, LP, El AL., C.A. No.2:16-17903
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MDL No. 2789 Schedule A (Continued)


      ELLIS v. ASTRAZENECA PHARMACEUTICALS LP, ET AL, C.A. No. 2:16-17904
      ROGERS v. ASTRAZENECA PHARMACEUTICALS LP, ETAL., CA. No.2:16-17906
      HARTS, ET AL. v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
            C.A. No. 2:17-02298
      WILLIAMS v. PROCTOR & GAMBLE COMPANY, ET AL., C.A. No. 2:17-03972
      MORRIS v. ASTRAZENECA LP, ET AL, C.A. No. 2:17-04804
      BRUNET v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-05114

            Middle District of Louisiana

      DAVIS v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 3:16-00686
      SMITH v. ASTRAZENECA PHARMACEUTICALS, LP, ET AL., C.A. No. 3:16-00696

            Western District of Louisiana

      CAESARv. ASTRAZENECA PHARMACEUTICALS LP, ETAL., C.A. No.2:17-00198
      MODICUE v. ASTRAZENECA PHARMACEUTICALS LP, ETAL., C.A. No. 6:16-01444
      MILLER v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 6:16-01455
      CRANDELL v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
           C.A. No. 6:16-01460
      BUSH v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 6:17-00669

            District of Maine

      MCGARR v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 1:17-00183

            District of Maryland

      BURCH v. WYETH PHARMACEUTICALS, INC., ET AL., C.A. No. 8:17-00970

            Eastern District of Missouri

      MILLIGAN v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 4:17-01546

            Western District of Missouri

      GREGG v. ASTRAZENECA PHARMACEUTICALS LP, El AL, CA. No. 6:17-03 101
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MDL No. 2789 Schedule A (Continued)


            District of New Jersey

      GOODSTEIN v. ASTRAZENECA PHARMACEUTICALS LP, ET AL,
             C.A. No. 2:16-05143
      SPRATT v. ASTRAZENECA PHARMACEUTICALS LP, ET AL, C.A. No. 2:16-05523
      BOYD v. ASTRAZENECA LP, ET AL., C.A. No. 2:16-08 121
      HUNTER v. ASTRAZENECA LP, ET AL., C.A. No. 2:16-08895
      ADKINS v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-00194
      SAVAGE v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-00196
      PIERRE v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-00198
      AUBREY v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-00201
      GThYARD v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No.2:17-00202
      TONEY v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-00203
      WATKiNS v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No.2:17-00204
      STEWART v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-00206
      GRAVES v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-00207
      SCOTT v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-00208
      CARRUTHERS v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
             C.A. No. 2:17-002 11
      LEE v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-00212
      WILBURN v. ASTRAZENECA PHARMACEUTICALS LP, ET AL, C.A. No.2:17-00213
      WILKERSON v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
             C.A. No. 2:17-00215
      LAYTONv. ASTRAZENECA PHARMACEUTICALS LP, ETAL., C.A. No.2:17-00216
      GUTIERREZ v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
             C.A. No. 2:17-00217
      HAWKINS v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No.2:17-0021 $
      HUDSON v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-00219
      LLOYD v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-00500
      MASSENGThL v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
             C.A. No. 2:17-00761
      GARRISON v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-01207
      ELLIOTT v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No.2:17-01413
      JAY, ET AL. v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
             C.A. No. 2:17-01606
      MUSE v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-01870
      JONES v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-02098
      DEVITO v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-02465
      FOSTER v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No. 2:17-02475
      LUZZO v. ASTRAZENECA LP, ET AL., C.A. No. 2:17-02567
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MDL No. 2789 Schedule A (Continued)


      STARKS v. ASTRAZENECA PHARMACEUTICALS, LP, El AL., C.A. No. 2:17-02597
      PETTIES v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:17-02700
      ROBERTSON v. ASTRAZENECA LP, ET AL., C.A. No. 2:17-02744
      PETERSONv. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No.2:17-02999
      HENDERSON v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
            C.A. No. 2:17-03056
      BOOTHE v. ASIRAZENECA PHARMACEUTICALS LP, El AL, C.A. No. 2:17-03191
      HOLLOWAY v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
            C.A. No. 2:17-03 192
      VALENTINE v. ASTRAZENECA PHARMACEUTICALS LP, ET AL.,
            C.A. No. 2:17-03 193
      ALLEN v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:17-03 197
      MORRIS v. ASIRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:17-03200
      KELLEY v. ASIRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:17-03204
      HOUZER v. ASIRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:17-03207
      BOULERv. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:17-03209
      CARROLL v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:17-03210
      HUNTER-MALONE v. ASTRAZENECA PHARMACEUTICALS LP, El AL.,
            C.A. No. 2:17-03211
      KILIAN v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:17-03265
      LANE v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:17-03302
      BOWENS v. ASTRAZENECA PHARMACEUTICALS LP, ETAL., C.A. No.2:17-03316
      STUKES v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:17-03343
      LAURENT v. ASIRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:17-03346
      ZELLARS v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C .A. No.2:17-03364
      BREWINGTON v. ASTRAZENECA PHARMACEUTICALS LP, El AL.,
            C.A. No. 2:17-03365
      CHISLEY v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No. 2:17-03366
      BERNARD v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No.2:17-03461
      MITCHELL v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C .A. No.2:17-03467
      LYITLE, El AL. v. ASTRAZENECA PHARMACEUTICALS LP, El AL.,
            C.A. No. 2:17-03562
      IACNEAU v. ASTRAZENECA PHARMACEUTICALS LP, ET AL., C.A. No.2:17-03591
      HOWARD v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C.A. No.2:17-03594
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      BROOKINS v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C .A. No.2:17-00055
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      KENNEDY v. ASTRAZENECA PHARMACEUTICALS LP, El AL., C .A. No.2:17-00102
      KING, El AL. v. ASTRAZENECA PHARMACEUTICALS LP, El AL.,
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